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                         UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF OHIO
                                WESTERN DIVISION

Kimberly Edelstein,

       Plaintiff,

               v.                                        Case No. 1:17cv305

Judge Greg Stephens, et al.,

       Defendants.

                              JUDGMENT IN A CIVIL CASE

       [X]     JURY VERDICT: This action came before the Court for a trial by jury.
               The issues have been tried and the Jury has rendered its verdict.

      [ ]     DECISION BY COURT: This action came to trial or hearing before the
              Court. The issues have been tried or heard and a decision has been
              rendered.


IT IS ORDERED AND ADJUDGED: The jury awarded damages against Defendant
Stephens ($1,120,000) in favor of Plaintiff Edelstein for the claim of violation of the First
Amendment’s Free Exercise clause under 42 U.S.C. § 1983. The jury has found in favor
of Defendant Stephens for the claim of alleged violation of the Fourteenth Amendment’s
Equal Protection Clause under 42 U.S.C. § 1983 and the claim of religious
discrimination under Ohio Revised Code § 4112.02. This matter is closed.


Date: February 3, 2023                      Richard W. Nagel, Clerk
                                           Clerk

                                    By:     s/ Krista Zeller
                                           Deputy Clerk
